105 F.3d 329
    PEABODY COAL COMPANY, Petitioner-Cross-Respondent,andOld Republic Insurance Company, Petitioner,v.Anabelle SPESE, Widow of John Spese, Respondent-Cross-Petitioner,andDirector, Office of Workers' Compensation Programs, UnitedStates Department of Labor, Respondent-Cross-Respondent.
    Nos. 95-1687, 95-1709.
    United States Court of Appeals,Seventh Circuit.
    Nov. 25, 1996.
    
      Petition to Review an Order of the Benefits Review Board, United States Department of Labor, No. 90-BLA-1856.
      Before CUMMINGS, ESCHBACH and DIANE P. WOOD, Circuit Judges.
      ORDER
      On consideration of the petition for rehearing with suggestion for rehearing en banc filed by petitioners, cross-respondents and respondent-cross-petitioner on October 15, 1996, a vote of the active judges of the court was requested.  A majority of the judges in regular active service voted to rehear this case en banc.   Accordingly,
      IT IS ORDERED that rehearing en banc be, and the same is hereby, GRANTED.
      IT IS FURTHER ORDERED, that the opinion entered in this case on August 29, 1996, 94 F.3d 369, be, and is hereby, VACATED.
    
    
      1
      This case will be reheard en banc, December 18, 1996.
    
    